    Case 2:20-cv-11753-JFW-JEM Document 19 Filed 09/29/21 Page 1 of 1 Page ID #:258

                                                                                           JS-6

                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES -- GENERAL

Case No.      CV 20-11753-JFW(JEMx)                                         Date: September 29, 2021

Title:        Berenice Chavez -v- Walmart Inc., et al.

PRESENT:
              HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                   None Present
              Courtroom Deputy                                 Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                  None

PROCEEDINGS (IN CHAMBERS):                 ORDER OF DISMISSAL

       In the Notice of Settlement and Vacate Further Hearings and Deadlines, filed on September
28, 2021 (Docket No. 18), Plaintiff Berenice Chavez represents that the parties have settled this
action. As a result, the Court dismisses this action without prejudice subject to either party
reopening the action on or before October 29, 2021. The Court will retain jurisdiction for the sole
purpose of enforcing the settlement until October 29, 2021. Thereafter, absent further order of the
Court, the dismissal of this action will be with prejudice. All dates in this action, including the trial
date are vacated.

         IT IS SO ORDERED.




                                              Page 1 of 1                          Initials of Deputy Clerk sr
